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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) ROBBIE EMERY BURKE,                             )
         as the Special Administratrix of              )
         Elliott Earl Williams, Deceased,              )
                                                       )
                  Plaintiff,                           )
                                                       )
   v.                                                  )    Case No. 11-CV-720-JED-PJC
                                                       )
   (1) STANLEY GLANZ,                                  )
          in his individual capacity; and              )
   (2) VIC REGALADO,                                   )
          in his official capacity.                    )
                                                       )
          Defendants.                                  )

                               DEFENDANTS EXHIBIT WITNESS LIST

          COME NOW Defendants Stanley Glanz and Vic Regaldo, by and through their attorneys

   of record and submit the following Final Exhibit List:

    Ex.   Name
    1     911 Call Audio
    2     Owasso 2011-3302 Radio Traffic Initial Call and Arrest
          Audio
    3     Owasso Body Cam Video (Arrest)
    4     Owasso Body Cam Video (Arrest)
    5     Owasso Call Service Summary
    6     Owasso Booking Report dated 10/22/11                     Glanz-EW0003-0005
    7     Owasso Body Cam Video (Police Station)
    8     Owasso Body Cam Video (Jail)
    9     Owasso Body Cam Video (Jail)
    10    Owasso Body Cam Video (Jail)
    11    Owasso Video, Cell No. 5 (Jail)
    12    Owasso Video, Cell No. 5 (Jail)
    13    Owasso Call Incident Report Case No. 2011-3302           Glanz-EW0062-0077
    14    Owasso Complaint Card                                    Glanz-EW0060
    15    Owasso Audio Transport to DLM
    16    Owasso Incident report, 04/01/06                         Glanz-EW0058-0061
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    18    Williams Inmate Records                               Glanz-EW0002-7:-12-15
    19    CHC Medical Log
    20    CHC Mental Health Activity List - Williams
    21    CHC Mental Health Treatment Team Meeting - Williams

    22    SJMC Medical Records - Williams 5/9/11                SJMC 1-35

    23    TCBH Medical Records - Williams 5/9/11                TCBH00001-00018

    24    CHC Timeline for Encounter - Williams                 Glanz-EW0082-0084

    25    CHC Medical Records - Williams                        Glanz-EW0093-0109

    26    Williams Jail Incident Report - 10/27/11

    27    Medical Unit Log Sheets
    28    CHC Clinical Protocol Manual 2010
    29    CHC Policies and Procedures 2009
    30    TSCO Policies & Procedures
    31    TCSO Inmate Handbook                                  Glanz-EW2076-2089
    32    CHMO-TCSO Services Agreement 2010                     Glanz-EW2178-2202
    33    CHMO-TCSO Services Agreement Amendment 2011           Glanz-EW2203-2209
    34    TCSO Staffing Records 10/26-11/1

    35    CHC/TCSO Health Services Agreement

    40    2009 ACA Study                                        Glanz-EW2634-2657

    41    ICE Annual Detention Review                           Glanz-EW3738-3828
    42    ICE Annual Detention Review                           Glanz-EW3829-3927
    43A   Letter naming Dr. Washburn including CV               GLANZ-EW2210-12
    43B   CHM Standards to be Addressed and Appendices A-O      GLANZ-EW2213-2593
          (redacted to remove Patient Identifiers)
    44    Peterson Records - Williams Family                    Glanz-EW4104-6581
    45    Roemer Report 110811                                  Glanz-EW3049-3054
    46    TCSO Jail Shift Report                                Glanz-EW3059-3060
    47    TCSO Annual Report, 2009
    48    TCSO Annual Report, 2010
    49    TCSO Annual Report, 2011
    50    Photographs of the David L. Moss Medical Unit
    51    Diagram of the David L. Moss Medical Unit
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    52   Plaintiff’s Answers to Interrogatories and Discovery
    53   Demonstrative Exhibits as necessary
    54   All exhibits listed by Plaintiff not objected to by Defendant

                                               Respectfully Submitted,

                                               /s/Guy A. Fortney
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                                               Guy A. Fortney, OBA #17027
                                               Corbin C. Brewster, OBA #22075
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                                  CERTIFICATE OF SERVICE

   I hereby certify that on January 20, 2017, I electronically transmitted the foregoing document by
   email and/or U.S. mail to the following:

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                                               /s/ Guy A. Fortney
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